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                                EXHIBIT B




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 SUPREME COURT OF THE STATE OF NEW YORK
 COUNTY OF NEW YORK

                                                                       lndex Num. 100556/2018
 MARIAH LOPEZ



 V                                                                            hn               /N T
                                                                                         "zA
 NYC DEPT OF HOMELESS SERVICES,
 NYC HUMAN RESOURCES ADMINISTRATION,
 PROJECT RENEWAL INC, QPS SECURITY INC, WN INC,
 CHRISTINE C. QUINN




                                           PARTIES



                                            Plaintiff

I Mariah Lopez, am the plaintiff and a lifelong New Yorker. I began communicating with


HRA/DHS, Project Renewal last April in order to be assessed for and receive safe

housing/shelter and other services. I experienced pain, suffering and other measurable and

documented damages as a result of the past and continued actions of the defendants.




                                          Defendants

NYc DEPARTMENT oF HOMELESS sERVtcEs runs the Nyc shetter system

NYC'HUMAN RESOURCES ADMINISTRATION, operates closely with DHS and is designed

provide social services and advocacy for NYC's most needy and vulnerable populations

PROJECT RENEWAL lNC, operates a number of shelters under contract with NYC DHS;
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QPS SECURITY INC is contracted under Projection Renewal lnc and DHS to provide security


services at multiple DHS shelters;

WIN INC operates a number of shelters under contract with NYC DHS;

CHRISTINE C. QUINN runs WIN lnc.

                                           COMPLAINT.

 NYG Department of Homeless Services is still (as of May gth 2018) refusing to place me


in shelter for Transgender individuals and; is aftempting to house me in shelter designed

for cisgender individuals (females) despite my repeated refusal to accept this placement

  based on my medical needs and doctors recommendations and, based on my gender

identity and the protections I have as a private citizen who identifies as Transgender; Not

  just'female'.   DFIS   refusalto place me somewhere other than the Brooklyn Park Slope

Armory Women's Shelter, is in contradiction to multiple local, state and federal laws, and

the documented recommendations of multiple healthcare experts who are treating me or

 have treated me (under NYS law Trans individuals under a doctors care, with diagnosis

  of Gender ldentity Disorder are entitled to Trqns specific reasonable accommodations

            based on tieatment outlined by their doctors. Jean Doe v Bell, 2002)




In April 2017 I entered into conversations with NYC DHS GLBTQ Liaison Elana Redfield about


my need for shelter as a personal as well as medical need. She and I began communicating


after I reached out because I was homeless, in need of shelter through DHS HRA and I could

not simply walk into a female intake shelter to receive seryices, as I have several conditions that


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 require (minimal) accommodations as per my treatment (need for a service animal; private

 room, not a dorm setting, minimal environmental triggers (such as dorm settings) or cisgender

 sex segregated facilities). I was homeless after just having lost an aunt to AIDS. I had been

 living with this aunt for some time, and was put into a housing crisis by her passing away




 During this time I was also undergoing treatment for PTSD, major depression, anxiety and

 insomnia. I needed somewhere safe to live ( I needed housing) in order to minimize symptoms

 of my conditions (suffering), and to promote the effectiveness of the treatment I was receiving

under doctors from Housing Works lnc. My housing was a part of my healthcare, essentially,

since quiet, privacy and sleep were all a fundamental part of my treating doctors instructions

and directives. My doctors made themselves available via phone if DHS/HM administrators

needed to confirm my needs and their recommendations. The team of staff/providers involved in

my case at Housing Works, and later my personal surgeon who performed revision of my GRS,

provided letters eventually, creating a collective criteria for what is and is not acceptable   in


terms of housing placements and accomodations.




Elana Redfield has a unique awareness of my needs and my gender identity and expression

since she was once my attorney; she worked at SRLP, and provided legal advice to me on

multiple occasions as part of her work there.




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After her and I began communicating about how to get me housing, she and I agreed that the

only appropriate place within the DHS system would be a new shelter within the DHS system

that was newly created to meet the needs of the Transgender population of DHS




Elana Redfield then connected me to Kaedon Grinnell via email and phone as part of the initial

screenrng process.




Kaedon Grinnell seemed very polite and appeared to be very interested in helping me. He

claimed to know who I was (referring to my activism and connection to Marsha P Johnson, the

person who the shelter was named for, pioneer of the Gay and Trans rights movements). He

said he had looked me up, including viewing my social media pages. These pages contain

images of me that are highly sexually charged.




Beginning last year in late April Project Renewal shelter director Kaedon Grinnell did make

sexual advances towards me; with body language (an erect penis under his clothing which was

clearly visible while in my presence, along with facial expressions and gestures such as licking

his lips), and by initiating sexually charged conversation during a closed door interview he and   I



had before I entered in the DHS system.




He texted and called me on several occasions after hours, but before lwas even in the DHS


system. He also helped my organization secure an event space for a town hall last minute,


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  which was something completely outside his role as shelter director.
                                                                       Something of a personal

  favor to me. Which struck me as odd




  Once at the facility (Marsha's Shelter) I experienced what I can only describe
                                                                                 as a nightmare.

  Project Renewal staff did call me names such as faggot, a 'Man' and
                                                                      referred to me as

 'he/it/him', and saying that I could not be an activist because I am prostitute.
                                                                     a            Starting the last

 week of April last year, male Project Renewal staff under Kaedon Grinnellfljrted
                                                                                  with me, and

 asked questions about my genitals (lemme see what a sex change looks like,,).
                                                                               I informed

 Kaedon Grinnell of these incidents. Out of fear of retaliation I reciprocated
                                                                               their advances and

 engaged in sexual intercourse with project Renewal shelter staff.




 Employees of the security company within the shelter, QPS, constanfly harassed
                                                                                me verbally

calling me him/he/it. Male QPS staff did bring myself and other shelter residents
                                                                                  illegal drugs

(including opiates, marijuana and cocaine), and did engage in prostitution
                                                                           and other sexual

contact with shelter residents openly. A QPS staff named "Brandon" engaged
                                                                           in several

relationships with male residents.




During my time at the shelter QPS employees openly harrassed and mistreated
                                                                            myself and

other Transgender clients (usually Trans females), choosing to enforce
                                                                       strict security protocol

for less passable Transgender residents or, outspoken individuals such
                                                                       as myself. lwitnessed

this discrimination first hand on numerous occasions. Some male
                                                                epS employees openly


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engaged in gossip between themselves and other clients about medically/legally sensitive

information about shelter clients openly (including HIV status and Hormone replacemenUsurgery


status). Both male and female QPS staff engaged in threatening shelter residents with physical

violence or systematic retaliation via shelter write-up or transfer or worse; arrest by QPS calling

the NYPD and allowing them into the shelter. Many of the shelter residents are afraid of the

police for one reason or another, and the threat of the police being called erroneously was a


scare tactic often used by QPS staff. I am in touch with dozens of current and former shelter


residents who will testify as witnesses to these actions and behavior by QPS staff




Project Renewal staff also called me names such as faggot, transvestite, she-he, lt, shim; and

referred to me using inaccurate pronouns such as he/him on purpose. Staff at Project Renewal


did threaten to physically assault me if I attempted to bring my service animal into the shelter as

per the ADA. Other staff did engage in fabricating lies about me in an attempt to damage my


reputation and character publicly (as I was using my Facebook vlog to document the


misconduct of many staff, giving staff the motive to damage how I viewed in the public's eye)


These lies were also intended to impede and damage my credibility as a victim (civilly or

criminally) should I report these behaviors and actions to authorities or bring legal action




These lies were spread verbally staff to staff, and through/within documents and communication

between Project ilenewal/QPS as well as with NYC DHS.




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  DHS used these lies as the basis to attempt to have me transfened from the
                                                                             one and only

  shelter for Transgender individuals within the DHS system, to a non transgender
                                                                                  specific

 placement.




 I have repeatedly maintained in writing, emails and through verbal assertions
                                                                               to the defendants

 that I identify as Transgender; a Transgender female. This is not the same as identifying
                                                                                           as a

 "female", while existing as a Transgender person. Some individuals transition
                                                                               and choose to go

 "stealth" and shed their Trans identity, and some do not. This decision
                                                                         is linked to an individual,s

 medical treatment. lt is inappropriate and against the taw for cisgender individuals to
                                                                                         assume or

 operate as if surgery is a final or determining factor in legal status of trans individuals,
                                                                                              or, that

once an individual has surgery, they are no longer transgender. Legally DHS cannot
                                                                                   force me

into a 'non Transgender specific' shelter. Also, harassment on the basis of my identifying
                                                                                           as a

transgender female is prohibited under the law. ln placing myself and other transgender

individuals in cisgender shelters, the defendants are unable to eliminate harasqment
                                                                                     and conflict

that is otherwise avoidable.




DHS attorneys stated that there was 'no room" al the shelter as early as April 27th
                                                                                    of 2017,

even though I had slept there the previous night.and there were more than a dozen
                                                                                  beds

available.




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This attempt to have me transferred revealed mechanizations of DHS, QPS and Project

Renewal to have me transferred as a way of keeping mismanagement and potential crimes by

Project Renewal and QPS staff under wraps




When confronted with photos taken seconds previously showing actual open beds at the

shelter, DHS/Project Renewal soon relented and agreed that there was room, and I returned to

the shelter:. Staff soon began treating me different than other residents; DHS police were placed

at the shelter to intimidate myself and other residents (which triggered my PTSD




One morning while I was staying at the shelter in May of 2017, a man approached and

threatened myself, and four other Transgender residents of the shelter who were outside in front

of the facility. He called us derogatory names based on our appearing to be transgender, and


claimed he had a firearm, pointing to his waistband. This caused a physical altercation between

the individual attacker and the group of Trans residents. DHS police responded by coming

outside, blindly entering the commotion seemingly targeting the residents as the aggressors,

and bringing the attacker (a person off of the street) inside the facility, unsearched!




DHS police then aided the individual in leaving out a side entrance, once residents called the

police and were insistent on pressing charges. DHS police presence at the facility was clearly

not about creating a more safe environment, and their aiding the individualwho threatened


myself


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  For several weeks in early May of 2017 I experienced constant harassment
                                                                           and retaliation from

  Project Renewal staff, QPS staff and shelter director kaedon Grinnell (l had informed
                                                                                        him    I



 would be going public with his flirting and late night texts/calls when he threatened
                                                                                       to have me

 transfened using an Administrative Transfer.




 Eventually I was transferred from the facility, the only Transgender shetter in New york .WlN
                                                                                         to

 West"; shelter run by former New York City Councilwoman and Speaker Christine
                                                                               euinn, who               I



 have known professionally for over decade.




 Christine Quinn was a leading architect of New York's first legislation to protect Transgender

individuals against private citizens or the government forcing individuals into gender segregated

facilities, called "local law 3" (which added Transgender and gender fluid individuals to the
                                                                                              NyC

HUman Rights Law).




Unlike other amendments of it's kind, NYe (under HRC and the direction of then Mayor

Bloomberg) took the unusual step of issuing guidelines to go along with local law 3 in order to

exp-ressly outline how the city should function post local law 3, using guidelines to educate
                                                                                              the

public and government entities alike. This law made clear NYC's acceptance, on
                                                                               a legal level, of

more than just 'male' and 'female', as valid gender options with protection under the NyC

Human Rights Law. The law addressed 'exclusion' policies, as much as it did forcibly imposing


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gender roles or labels on individuals; and prohibits forcing people into one gender segregated


facility, or the next, against their gender identity. These guidelines were created with input from

Trans legaladvocates and law makers.




The flip side of denying access to Trans people to gender segregated facilities, is refusing to


acknowledge the uniqueness of being Transgender as the key reason Trans persons can refuse

placement at sex segregated facilities designed for cisgender individuals. Most of NYC agencies


(from ACS to DOC) have policies which mandate services and protections for Transgender


identified individuals, and create specific beds and facilities apart from traditional 'cisgender,


hetero' facilities to accommodate transgender individuals.




During at least two seperate phone call last June between Christine Quinn and myself,        I




expressed that I identified as Transgender, could not accept a placement at a cisgender female


shelter, and so, the only facility appropriate for me was a Transgender specific facility.




I expressed to Christine Quinn she should stand up against DHS forcing Trans people into


facilities originally designed for cis gender individuals. I explained that the issue DHS was facing

was a lack of enough Trans shelter within DHS




I believed she would do the right thing based on her previous public appearance and actions on


trans issues (she cried during the public hearings while hearing public testimony from


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 Transgender New Yorkers who experienced abuse and discrimination based on gender-based

 stereotypes).




 I encouraged her to follow the law as to my gender identity and expression (urging her to house


 me within her agency some place othei than WIN West like an apartment, which WIN has


 access to), and she refused, stating to me in substance "...but you're a woman now right....isn't

 that what you want people to think? lsn't that what you and other fought so hard for?"




She was referring to 1. What she believed to be my gender based on gender stereotypes and;


2.my having had gender affirmin$ surgery, when she said 'now'during        our call (referring to my

genitals and medical transition).




Her interpretation of gender identity, motivations for changing my body, and her knowledge of


my history as an activist for Transgender rights lead her to a decision to participate in denying

me protections under local law 3. lt's like she was saying I am no longer transgender




She was effectively refusing to acknowledge my gender identity as a Transgender woman.


Creating an 'all or nothin" scenario for Trans individuals in DHS shelters. Either you can be in

the closet among cis gender women, or live openly as transgender, and face constant

questions, harassment and being the subject of gossip within the shelter




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 I expressed my concerns with her ignoring the NYC Human Rights Law (along with other laws),


and the fact that the facility in question was for "women" which means that local law 3 prohibits


the forced placement of Trans identified individuals into it, as a gender segregated facility




This shelter, and the shelter DHS tried to force me into next faile to accommodate my multiple


disabilities.




DHS is fully aware of these disabilities and the recommendations of experts who have or are


treating me, yet, they have chosen to ignore their recommendation.




ln order to be operating in compliance with numerous laws and precedent, the solution is for

DHS and WIN West to have enough Transgender specific beds to accommodate the projected


number of Trans individuals with the shelter system; not for City lawyers or Christine Quinn to


determine people's gender for them, to deny Trans people the option of not being forced into

intimate settings with cis gender individuals




Other Transgender individuals who have been placed at the same facility run by Christine Quinn


or her agents, have come forward and provided proof that facilities under Quin's control

were/are dangerous for Transgender residents, underscoring my argument that the law should

not be ignored, and DHS needs to open new shelters for specifically for Transgender

specifically for individuals. This proof includes video of a Transgender women being verbally


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  abused and later physically assaulted in the very shelter DHS and Quinn were attempting to

 place me at with the attackers making anti trans comments during the incident.

 Denying a Transgender person their identity via refusing to acknowledging it as a determinant

 social factor in gender segregated places of public accommodation, is not consistent with the

 laws of NYC and State since Governor Cuomo issued an Executive Order adding Transgender

 people as a protective group under the NYS Human Rights Law




 Refusalto protect and accommodate Trans individuals in NYC DHS run shelters is a violation of

 the Americans with Disabilities Act (referred to as the ADA) 2. Fair Housing Act     (referred to as

the FHA) 3. Title Vl of the '1964 Civil Rights Act (referred to as Title Vt) 4. Section 504   of the


 Rehabilitation Act (referred to as Section 504)




Medical Needs; undue stressed caused by lack of accommodations and harassment by

defendants.




I entered   the NYC shelt'er system because I was experiencing personal crises. As per several

legal disabilities I suffer from (including PTSD, GID ADHD) I was in need of a calm environment

where I could have a refuge from avoidable triggers, sex work for survival; lack of sleep and

balanced nutrition, allwhile accompanied by my service animal. I was in treatment, prescribed

medication as a part of treating my symptoms, but medication is only one component of

treatment. The defendants have all ignored the recommendations of my medical providers as to


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 my needs as well as what will trigger my conditions (resulting in avoidable symptoms like hyper-


 vigilance, flashbacks, aggression, insomnia)




 lgnorifig the documented recommendations of at least three providers (surgeon, psychiatrist,

 socialworker) in addition to my requests as a disabled person to reasonable accommodations

 for my multiple conditions and disabilities, represents a failure to provide me with reasonable

 accommodations for my disabilities.




 Beginning in April of last year the Defendants (DHS, Project Renewal QPS Christine Quinn


. WIN) engaged in actions which caused me considerable psychological stress and triggered the

 worst PTSD symptoms I have ever experienced. My PTSD is triggered in part by discrimination

 based of my Transgender identity and the harassment that comes with it or; or the legal conflict

 which can aribe when cisgender government or non profit administrators stand in opposition to

 the medicaltreatment prescribed by doctors. I have experienced the NYC Law Department

 opposition to my gender identity and medicaltreatment since I was a child. All of this back and


 forth is triggering for me




 Other actions by the defendants, such as male staff making sexual advances towards me, and


 our engaging in sexual intercourcse (staff and myself); other staff hanassing me with terms


 such as faggot or him




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  The defendants have ignored that my symptoms are made worse by their actions,
                                                                                such as

 anxiety, aggression and insomnia. All of my conditions were made worse by the prospect
                                                                                        of

 needing to hide my Trans identity in a "female" shelter, or face constant questions about

 makeup and/or Transgender genitals from cisgendered shelter residents ("can I see your

 surgery?"). The refusalto place (or refuse to place) me according to my gender identity (and
                                                                                              so

 with my doctors recommendations) all represent failures in providing reasonable

 accommodations for my disabilities.




                                                Claims

Among others violations of the law;

These actions are in violation of the NYC Human Rights Law,as well as the State Human Rights

Law, under Disability, Sex Sexual Orientation and Transgender related protections.




These actions violate my rights under the Americans with Disabilities Act.




These aetions violate my rights under the Fair Housing Act (referred to as the FHA).




These actions violate my rights under Title Vl of the 1964 civil Rights Act (referred to as Tifle Vl)

4. Section 504 of the Rehabilitation Act.




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These actions also violate the rights guaranteed to me under the First and Fourteenth

Amendments of the United States Constitution.




                                         Prayer for Relief




Because the actions of the defendant caused me to be homeless, mental and physical injury,


deprived me protections against discrimination based on my transgender identity and against

sex based discrimination;

   1.   I ask thls court to award punitive monetary damages in the amount of $10,000,000 for


        the above conduct (which the defendants had full knowledge of, and for which there is

        overwhelming evidence to support as fact). This conduct represents violations of multiple

        local state and federal laws. I have lost a year of my life to homelessness, PTSD


        symptoms; my education and future have been derailed (as I would have enrolled back

        in college last fall, if my housing was stable) and I fear that my public image may have


        been damaged beyond repair by untrue rumors spread by the defendants and by         the    t




        humiliation caused by being stigmatized as homeless as I refuse placement at a


        cisgender shelter. I may have permanent psychological scars from the past years events


        as well. The actions and abuses of the Defendants in particular, cause me horrible


        flashbacks and nightmares.


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     2. I also ask that this couft rule that the defendant's refusalto follow the specific
          recommendations of my medical providers to be failure to provide reasonable

          accommodations for my multiple disabilities, under local, state and federal law

    3    Additionally I ask that this court issue an order compelling the DHS place me within the

         DHS system at a shelter or SRO, which follows the recommendations of my treating


         doctgrs (including mental health experts) and surgeons.

    4.   Accordingly, I move for this court to issue an order directing DHS to immediately begin

         the process of assessing the fastest way that shelters designed specifically transgender

         individuals and populations can be created (ust as ACS, DOC and other city agencies

         have done);


    5.   Lastly I ask this court to issue an order barring DHS from placing individuals in facilities

         which are not consistent with their legal gender identity, and which violate laws meant to

         protect against sex based discrimination (including discrimination against transgender

         individuals)

I pray for this, and any additional damages or relief which the court it deems just and


appropriate.




               Submitted




PLAINTIFF




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